JAMES B. Abbott, plaintiff in error, hereinafter referred to as defendant, was charged, tried, and convicted of statutory rape, and sentenced to a term in the penitentiary. He prosecutes this writ, relying upon several errors, only one of which merits consideration here.
The people elected to proceed upon the offense which was alleged to have been committed on October 12, 1930. During the course of the trial, the victim was permitted, over the objection of defendant, to testify to similar occurrences between herself and defendant, occurring more than three years prior to October 12, 1930. *Page 122 
[1] In Bigcraft v. People, 30 Colo. 298, 303, 304,70 P. 417, and Curtis v. People, 72 Colo. 350, 353,211 P. 381, the rule announced in statutory rape cases was that, the admission, for any purpose, of evidence of another similar offense against the prosecuting witness by the defendant, and antedating the statute of limitations, was reversible error, and, upon these authorities, this case must be reversed.
Judgment reversed and cause remanded for a new trial.
MR. CHIEF JUSTICE ADAMS and MR. JUSTICE BUTLER dissent.
MR. JUSTICE HILLIARD not participating.